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                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


   In re Terrorist Attacks on September 11, 2001     03 MDL 1570 (GBD) (SN)
                                                     ECF Case


 This document relates to:
 All Actions

    DECLARATION OF JAMES GAVIN SIMPSON REGARDING EXECUTION OF
        THIS COURT’S JUNE 9, 2021 HAGUE CONVENTION REQUEST TO
     THE UNITED KINGOM AND EVIDENTIAL MATERIALS THUS OBTAINED

       I, James Gavin Simpson, declare under penalty of perjury, as provided by 28 U.S.C.

§ 1746, as follows:

       1.      I am an attorney duly admitted before this Court, am Of Counsel to the firm of

Kreindler & Kreindler LLP, attorneys for Plaintiffs in Ashton v. Kingdom of Saudi Arabia,

19-cv-2003, 03-mdl-1570 (S.D.N.Y.) (GBD) (SN), and am familiar with this litigation and the

prior proceedings relevant to the subject motion.

       2.      I respectfully submit this Declaration on behalf of the Plaintiffs to update the

Court regarding the execution of the June 9, 2021 Request to the United Kingdom Pursuant to

the Hague Convention of 18 March 1970 on Taking of Evidence Abroad in Civil or Commercial

Matters (“Hague Convention Request”) (ECF 6384-1, 6858). The Request sought to obtain

copies of evidential holdings (historical) from the Metropolitan Police Service at New Scotland

Yard in London, UK (“MPS”) related to Saudi government employee Omar al-Bayoumi.

       3.      In a Declaration dated April 5, 2022, I described the foreign process proceedings

that took place before the United Kingdom High Court, culminating in a Consent Order issued




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under the seal of its Senior Master, dated March 10, 2022, under which the MPS was ordered to

provide responsive materials as soon as practicable. ECF 7832.

       4.      On April 5, 2002, I filed a copy of the UK High Court’s Consent Order with this

Court, notified this Court that the MPS had produced materials responsive to the Hague

Convention Request, described the processes and chain-of-custody matters related to that

production, and provided copies of the signed and initialled “Evidential Material Schedule” and

“Evidential Material – Annex 1 – Videos” that signified the MPS’ handover of those materials

(the “MPS 2022 Production”). ECF 7832, ECF 7832-1, -2, -3, -4.

       5.      On December 6, 2023, the MPS sent to Plaintiffs a further “Witness Statement of

David McGillicuddy” (Statement Two), dated December 6, 2023, which the MPS served as

notice of its continued compliance with the Hague Convention Request. Detective

Superintendent McGillicuddy stated that “the MPS has identified additional material responsive

to that [Hague Convention] Request,” and described the status and nature of the materials being

produced, including a draft “Schedule of Relevant Material 2023.” A true and accurate copy of

that Witness Statement is attached hereto as Exhibit A.

       6.      The MPS has provided the material so identified (the “MPS 2023 Production”) in

digital form by means of two 4TB hard drives and via secure file transfer. I have reviewed each

item in the evidential production as it has been received, and I have initialed each corresponding

line of an updated version of the “Schedule of Relevant Material 2023” together with an MPS

officer. My review of the content of the entire MPS 2023 Production in digital form, together

with the MPS, was completed today, December 8, 2023. A true and accurate copy of the signed

and initialled MPS “Schedule of Relevant Material 2023” is attached hereto as Exhibit B.




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       7.      Under my supervision, my office has created exact copies of the MPS 2023

Production mirroring the original production on two 4-TB hard drives (for materials provided in

that format) and on DVD (for the materials provided via secure file transfer.) See Exhibit C

hereto, images of the DVD and the hard drives containing the “MPS 2023 Production.” We have

today filed under seal with the Court two 4-TB hard drives (matching the MPS evidentiary

markings) and copies of the secure file transfer materials on DVD. The file names on the hard

drives and DVD correspond with the labelling protocol employed by the MPS as set forth in

Exhibit B. We will also submit copies of the materials contained on the 4-TB hard drives in disc

format as soon as those files can be converted.

       8.      The responsive materials have been submitted to the Sealed Records department

of the U.S. District Court for the Southern District of New York, pursuant to the terms of the

MDL Protective Order (ECF 1900) and the Letters Rogatory (ECF 6834-1 at ¶ 10).

       9.      Along with the Plaintiffs’ Executive Committees, we will provide defense counsel

with copies of the MPS 2023 Production as quickly as possible. We will also provide courtesy

copies of the MPS 2023 Production to the Department of Justice.



I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed in New York, New York on December 8, 2023

                                                            /s/ James Gavin Simpson
                                                            James Gavin Simpson, Esq.




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